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August 5, 2019

VIA ECF

Hon. Loretta A. Preska

United States District Court
Southern District of New York
500 Pearl Street

New York, NY 10007-1312

Re: United States v. Steven Donziger, 11 Civ. 691

 

Dear Judge Preska:

I write on behalf of the Government to respectfully request that, at the August 6, 2019
conference in the above-referenced criminal matter, the Court: (1) address conditions of pretrial
release for defendant Steven Donziger pursuant to 18 U.S.C. § 3142; and (2) remind defendant
Donziger of the need to comply with Local Criminal Rule 23.1 of the District Court for the
Southern District of New York, which restricts extrajudicial comments in pending criminal
matters.

With respect to the issue of pretrial release, the July 30, 2019 Order to Show Cause alleges

six counts of criminal contempt against defendant Steven Donziger in violation of 18 U.S.C.
§ 401(3). Pursuant to Fed. R. Crim. P. 42(a)(3), “a person being prosecuted for criminal
contempt...must be released or detained as Rule 46 provides.” Rule 46(a), in turn, specifies that
18 U.S.C. § 3142 governs decisions regarding pretrial release. Accordingly, the Government

~ requests that the Court take up the issue of conditions for pretrial release at tomorrow’s conference.

With respect to Local Criminal Rule 23.1, on August 1, 2019, defendant Donziger
published a tweet and a press release on his Twitter account regarding this criminal contempt
proceeding, attached as Exhibit A.! Among other things, Donziger’s August 1, 2019 out-of-court
statements accuse the Court of having engaged in “corrupt acts to manipulate evidence.” His
statements also misrepresent Court orders that Donziger is charged with willfully violating.

 

' The press release was issued by Donziger’s client, the Frente de Defensa de al Amazonia (“ADF”), and includes
quotes from Donziger. -
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Specifically, Donziger stated that he is being charged with “criminal contempt for refusing to turn
over my computer, cell phone, and passport to Chevron....” See Exhibit A. In fact, the orders at
issue directed Donziger to: (1) surrender his passport to the Clerk of the Court of the Southern
District of New York, not Chevron; and (2) surrender his computer and cell phone to a Neutral
Forensic Expert for imaging, not Chevron. See Dkt. #2232 (“Passport Order”) at 2; Dkt. #2172
(“Forensic Inspection Protocol”) at 4 5. Donziger’s August 1, 2019 statements run afoul of Local
Criminal Rule 23.1(a) and (d). Accordingly, the Government requests that the Court remind Mr.
Donziger of the Local Rule, and the requirement that he comply with that Rule throughout this
proceeding. .

Respectfully submitted,

/s/ Rita M. Glavin
Rita M. Glavin

 

Enclosure

ce: Steven Donziger (via email)
. (sdonziger@donzigerandassociates.com; StevenR Donziger@egmail.com)

 
